                    Case 08-51286          Doc 24       Filed 04/29/13         Page 1 of 5



                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             WINSTON-SALEM DIVISION

IN RE:

      RAIMOND B. HALL                                                          08-51286
      TERRY B. HALL                                                          CHAPTER 13


        EX PARTE MOTION TO RESTRICT PUBLIC ACCESS TO DOCUMENTS

        Pursuant to sections 105(a) and 107(c)(1) of title 11 of the United States Code (the

“Bankruptcy Code”), and Rule 9037 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), CitiFinancial (“Citi”), by and through its undersigned counsel, hereby

move this Court to restrict remote electronic access to the Designated Filing (as defined below)

to protect certain confidential customer information (“PII”) contained therein. In support of this

motion (the “Motion”), Citi respectfully states as follows:

                                              BACKGROUND


        1.      Citi takes very seriously the need to protect its customers’ PII and its obligations

under Bankruptcy Rule 9037. Citi’s good faith belief was that it had redacted the PII in

compliance with Bankruptcy Rule 9037 prior to filing Proof of Claim No. 6-1 in the above-

captioned case (the “Designated Filing”).

        2.      However, Citi uncovered certain imperfectly-redacted PII in the Designated

Filing, and therefore has filed the instant Motion to restrict access to the Designated Filing.1 Citi

is not aware of any instances in which this PII was misused, and Citi believes the risk of

unauthorized access or misuse for identity theft or other harmful purposes is low. However, by


  1    Certain of the imperfect redactions are not readily apparent, but are capable of detection if the filings are
  manipulated through the use of certain software.
                  Case 08-51286       Doc 24      Filed 04/29/13     Page 2 of 5



this Motion, Citi is taking steps to reduce this potential exposure by permanently restricting

access to the Designated Filing.

                                     RELIEF REQUESTED

       3.      Citi hereby requests that the Court order the Clerk of the Court to restrict remote

electronic access to the Designated Filings.

       4.      Citi believes that, pursuant to sections 105(a) and 107(c)(1) of the Bankruptcy

Code and Bankruptcy Rule 9037, cause exists to restrict access to the Designated Filings.

       5.      Citi requests that to the extent the above-captioned case is closed, it will not be

necessary for Citi to request that the case be reopened.
                  Case 08-51286       Doc 24      Filed 04/29/13     Page 3 of 5




       WHEREFORE, Citi respectfully requests that the Court enter an Order, (i) directing the

Clerk of the Court to restrict remote electronic access to the Designated Filing, and (ii) granting

such other and further relief as the Court deems appropriate.



       This the 29th day of April, 2013.

                                              s/ Siri Rhyne Setzer
                                              Siri Rhyne Setzer
                                              N.C. State Bar No.: 41577
                                              Counsel to CitiFinancial
                                              10130 Perimeter Parkway, Suite 400
                                              Charlotte, NC 28216
                                              ncbkmail@shapiro-ingle.com
                                              Phone: (704) 333-8107
                                              Fax: (704) 333-8156
              Case 08-51286      Doc 24     Filed 04/29/13     Page 4 of 5



               IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       WINSTON-SALEM DIVISION

IN RE:

RAIMOND B. HALL                                                08-51286
TERRY B. HALL                                                CHAPTER 13


                            CERTIFICATE OF SERVICE

       I hereby certify that I have this day served the foregoing and annexed pleading or
paper upon:

                                (Served via U.S. Mail)
                           Raimond B. Hall and Terry B. Hall
                                  160-7 Kinder Road
                              Winston-Salem, NC 27107


                   (Served via U.S. Mail and Electronic Notification)
                                   John A. Meadows
                                 2596-C Reynolda Rd.
                              Winston-Salem, NC 27106
             Case 08-51286       Doc 24     Filed 04/29/13    Page 5 of 5




                        (Served via Electronic Notification Only)
                                   Kathryn L. Bringle
                             2000 West First St., Suite 300
                                     P.O. Box 2115
                               Winston-Salem, NC 27102

by depositing the same in a postpaid wrapper properly addressed to each such party or his
attorney of record in a post office or other official depository under the exclusive care
and custody of the United States Postal Service and/or by electronic mail, if applicable.

       This the 29th day of April, 2013.

                                            s/ Siri Rhyne Setzer
                                            Siri Rhyne Setzer
                                            N.C. State Bar No.: 41577
                                            Counsel to CitiFinancial
                                            10130 Perimeter Parkway, Suite 400
                                            Charlotte, NC 28216
                                            ncbkmail@shapiro-ingle.com
                                            Phone: (704) 333-8107
                                            Fax: (704) 333-8156

13-044902
